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 1                                                   The Honorable John C. Coughenour
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 6
 7                    UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF WASHINGTON
 8
                                  AT SEATTLE
 9
     UNITED STATES OF AMERICA,                      CASE NO. CR20-092 JCC
10
                          Plaintiff,
11
                     v.
12
     (1)    ALAN GOMEZ-MARENTES (aka
13                                                  UNITED STATES’ MOTION FOR
            GUAJAS),
14                                                  LEAVE TO LATE-FILE REPLY IN
     (2)    JUAN ANTONIO GONZALEZ-
                                                    SUPPORT OF MOTION TO
            CARRILLO (aka TOTO),
15                                                  CONTINUE TRIAL DATE [Dkt. 223]
     (3)    LUIS ARTURO MAGANA-
16          RAMIREZ (aka GUERO),
                                                    NOTED: September 11, 2020
     (4)    JOSE ELIAS BARBOSA (aka PRIMO,
17
            aka PRIETO),
18   (5)    JOSE DANIEL ESPINOZA (aka
            APACHE),
19
     (6)    ESTEFHANY COREA-MENDOZA
20          (aka SICARIA),
     (7)    ADRIAN IZAZAGA-MARTINEZ,
21
     (8)    JORGE MONDRAGON,
22   (9)    BENJAMIN FUENTES (aka
            CHANCHAS),
23
     (10)   LUIS ZAVALZA-SANCHEZ (aka
24          FLAKO),
     (11)   ALYSHA JONES (aka MANDY),
25
     (12)   ARMANDO FIERRO-PONCE,
26   (13)   AMANDA MEYER,
     (14)   MICHAEL ANDREW WOOD,
27
     (15)   LUIS CASTILLO-BARRAGAN,
28   (16)   EFRAIN LUNA-RODRIGUEZ,
     UNITED STATES’ MOTION TO LATE-FILE REPLY - 1                 UNITED STATES ATTORNEY
                                                                 700 STEWART STREET, SUITE 5220
     NO. CR 20-092                                                 SEATTLE, WASHINGTON 98101
                                                                         (206) 553-7970
              Case 2:20-cr-00092-JCC Document 260 Filed 09/01/20 Page 2 of 2




 1    (17)     JULIAN PINEDA CASILLAS,
      (18)     BLANCA MEDINA,
 2
      (19)     RUTH MELISA GOMEZ-
 3             MARENTES, and
      (20)     ADRIAN SIMS,
 4
 5                         Defendants.
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 7           The United States of America, by Brian T. Moran, United States Attorney for the
 8 Western District of Washington, and Amy Jaquette and Marci L. Ellsworth, Assistant
 9 United States Attorneys for said District, hereby moves the Court for leave to late-file its
10 reply in support of its motion to continue the trial date, presently set for September 21,
11 2020. As a result of heavy caseloads and the need to gather up-to-date factual
12 information from FDC SeaTac, undersigned counsel inadvertently missed the filing
13 deadline for a reply brief, on the noting date – Friday, August 28, 2020. Counsel
14 apologizes to the Court and counsel for the mistake. Given that this response is being
15 filed shortly thereafter, the undersigned does not believe that any prejudice has resulted.
16           Counsel for the two defendants who filed oppositions were contacted. One does
17 not oppose this motion; the government did not yet hear back from the other.
18           DATED this 1st day of September, 2020.
19
20                                                    Respectfully submitted,

21                                                    BRIAN T. MORAN
22                                                    United States Attorney

23                                                    s/ Amy Jaquette
24                                                    AMY JAQUETTE
                                                      MARCI L. ELLSWORTH
25
26                                                    Assistant United States Attorneys
                                                      Telephone: (206) 553-4127
27                                                    E-mail: amy.jaquette@usdoj.gov
28                                                            marci.ellsworth@usdoj.gov
     UNITED STATES’ MOTION TO LATE-FILE REPLY - 2                         UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     NO. CR 20-092                                                         SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
